           Case 1:05-cr-00232-AWI Document 52 Filed 02/12/07 Page 1 of 2


 1   NICHOLAS F. REYES, #102114
     Attorney at Law
 2   1107 “R” Street
     Fresno, California 93721
 3   Telephone: (559) 486-4500
     Facsimile: (559) 486-4533
 4
     Attorney for Defendant
 5   ANDY LEE MENDOZA
 6
 7
 8
                               UNITED STATES DISTRICT COURT
 9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA          )                CASE NO. 1:05-CR-00232-AWI
                                       )
12                                     )                STIPULATION AND
                      Plaintiff,       )                ORDER TO CONTINUE
13                                     )                SENTENCING
           v.                          )
14                                     )
     ANDY LEE MENDOZA,                 )
15                                     )
                      Defendant.       )
16   _________________________________)
17
              Defendant ANDY LEE MENDOZA, by and through his counsel of record,
18
     NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and through
19
     its counsel of record, KATHLEEN A. SERVATIUS, Assistant United States Attorney for
20
     the Eastern District of California, hereby stipulate that the sentencing in the above-referenced
21
     case currently scheduled for Monday, February 12, 2007, at 9:00 a.m. be continued to
22
     Monday, March 5, 2007 at 9:00 a.m. in the courtroom for the Honorable Anthony W. Ishii,
23
     District Judge.
24
     ///
25
     ///
26
     ///
27
     ///
28
     ///
       Case 1:05-cr-00232-AWI Document 52 Filed 02/12/07 Page 2 of 2


 1
 2   IT IS SO STIPULATED
                                               Respectfully submitted,
 3
 4
     Dated: 2-08-07                            /s/ Nicholas F. Reyes
 5                                             NICHOLAS F. REYES
                                               Attorney for Defendant
 6                                             ANDY LEE MENDOZA
 7
 8   IT IS SO STIPULATED
 9
10   Dated: 2-08-07                            /s/ Kathleen A. Servatius
                                               KATHLEEN A. SERVATIUS
11                                             Assistant U.S. Attorney
12
13                                     ORDER
14
15
     IT IS SO ORDERED.
16
     Dated:    February 9, 2007             /s/ Anthony W. Ishii
17   0m8i78                           UNITED STATES DISTRICT JUDGE
18
19
20
21
22
23
24
25
26
27
28

                                         -2-
